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 Notice of Appeal Criminal                                                                                                                               Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                                                         )
                                                                                  )
                                vs.                                               )           Criminal No. 21-cr-537
                                                                                  )
  Ryan Samsel                                                                     )


                                                           NOTICE OF APPEAL


Name and address of appellant:                                                    Ryan Samsel
                                                                                  Philadelphia, Pennsylvania




Name and address of appellant’s attorney:                                         Stanley Woodward, Jr.
                                                                                  1808 Park Rd. NW
                                                                                  Washington, D.C. 20010



Offense:   18 U.S.C. § 231(a)(3); 18 U.S.C. § 111(a)(1) & (b); 18 U.S.C. § 1752(a)(1) & (b)(1)(A); 18 U.S.C. § (a)(4) & (b)(1)(B); 40 U.S.C. § 5104(e)(2)(F); 18 U.S.C. § 1512(c)(2)



Concise statement of judgment or order, giving date, and any sentence:
     May 18, 2022, Order of Pretrial Detention



Name and institution where now confined, if not on bail: FDC Philadelphia


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
   June 1, 2022                                                                          Ryan Samsel
 DATE                                                                             APPELLANT
                                                                                                               Stanley E. Woodward Jr.
                                                                                  ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE
CJA, NO FEE
PAID USDC FEE                 ✔
PAID USCA FEE                 ✔
Does counsel wish to appear on appeal?                                                                YES ✔                      NO
Has counsel ordered transcripts?                                                                      YES ✔                     NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?                                            YES                       NO ✔
